Case 23-41037-can7                                            Doc 22-3 Filed 08/15/23 Entered 08/15/23 11:46:41                                                                          Desc
                                                                     Exhibit 3 Page 1 of 1


              C a s e 2 3 -4 1 0 3 7 -c a n 7                        Doc 9             F ile d 0 7/ 3 1/ 2 3            E nte re d 0 7/ 3 1 / 2 3 1 6 :2 1 :1 5              D e s c M a in
                                                                                       D o c u m e nt           Page 1 of 1
  : .'pil|i inft|i isj ihfbrj ii at|p.iJi tO' iileil tifv! y pur. c a s e :                                                                                           .4 .
        Debtor 1
                           J essica                            Lynn                           A barca
                                                                                                                                                                      4
     D eb tor 2
                          Fi rst K a n o                        h U<h So N a n o               L a st K am o
                                                                                                                                                    'W
    (Spouse, it tiling) r usI Neme                              M siIiCe N an i e              La st K am e                                               JUL 3 1 2023
    United States Bankruptcy Court for the; Western District of M is so u ri                                                                        J R W
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                                                                                                                                                    A U.S.bamkruptcvcourf
    Case number
                                                                                                                                                          WEsr oisTRicr
    (If known)                                                                                                                                             OFMISSOURI •y<^ /
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  O ffic ia l Fo rm 10 1A

  OBiitt iafl St aft eBTuent i^Ssoiat aga EvIct Boira                                                                                             i ^rgaanst Y o i a                          12/ 15

   File this form with the court and serve a copy on your landlord when you first file bankruptcy only if:
   >5
            yo u rent y our residence; and

   (S
            your landlord has obtained a j udgment for possession In an eviction, unlawful detainer action,
   or similar proceeding (called eviction Judgment^ against y ou t o p oss ess yo ur r es id ence.
         L a n d lo rd 's n a m e          N o rt h a a te M H P L In d a le . L L C


         Landlord's address                1260 NE US 69 Hwy., Lot ih
                                           Number        Street
                                           Lib erty
                                                                                              Missouri         610 68
                                           City                                               S l a te         Z IP C o d e



 If you want to stay In your rented residence after you file your case for bankruptcy, also complete the c e r t i Hc a t i o n b e l o w .

                Cert ificat ion About Applicable Law and Deposit of Rent


               I cerUfy under penalty of perjury that:
               9
                      □ Under thestateor other nonbankruptcylawthat appliesto the judgment for possession {evictionj udgment).
                     I have the ri ght to stay in my residence by paying my landlord the entire delinquent amount.
                     I have given the banknjptcy court clerk a deposit for the rent that would be due duri ng the 30 days after I f ile
                     the Voluntary Petition for Individuals Filing for Bankruptcy {Omc\a\ Form 101).

                                                                                                                              X
                                                                                                                                  Signature of Debtor 2



                                                                                                                                  D a te
                                      MM
                                                                                                                                           MM /     DD   / YYYY



                 Stay of Eviction; (a) First 30 days after bankruptcy. If you checked both
                                                                                           boxes above, signed the formto certify that both apply,
                                                      and served your landlord with a copy of this statement, the automatic stay under 11 U.S.C. § 362(a)(3) will
                                                      apply to the continuation of the eviction against you for 30 days after you file your Voluntary Petition fo r
                                                      Individuals Filing for Banknjptcy (Offi cial Form 101).
                                             (b) Stay after the Initial 30 days. If you wish to slay in your residence after that 30-day peri od and conUnue to
                                                 receive the protection of the automatic stay under 11 U.S.C. § 362(a)(3), you must pay the entire delinquent
                                                 amount to your landlord as slated in the eviction judgment before the 30-day peri od ends. You must also fill
                                                 out Statement About Payment of an Eviction Judgment Against You (Offi cial Form 101B), file it with the
                                                 bankmptcy court, and serve your landlord a copy of it before the 30-day peri od ends.

Check the Bankruptcy Rules ( htlp://vAw .uscourls.gov/mles-policies/current-rules-practice-procedure) and the local court 's w eb site (t o f ind
your court’s website, go to hl(p://w\*Av.uscourts.gov/court-locator) for any specific requirements that you might have t o m e e t t o s e rv o t h is
statement. 11 U.S.C. §§ 362(b)(22) and 362(1)
O fficia l F o rm 10 1A
                                                                    Initial Statement About an Eviction Judgment Against Y o u
